                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                             1:13-cv-139-MR
                           (1:06-cr-251-MR-4)


ROBERT DEON HUNTER, SR.,    )
                            )
         Petitioner,        )
                            )
     vs.                    )                     ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
                            )
         Respondent.        )
____________________________)


          THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence, filed under 28 U.S.C. § 2255, [Doc. 1], and

on his Supplemental Pleading raising alternative claims under 28 U.S.C. §

2241, and the writs of coram nobis and audita querela. [Doc. 4].                No

response from the Government is necessary. For the reasons that follow,

the Court finds that this is an unauthorized, successive petition. The Court

therefore dismisses the Motion to Vacate.        The Court further finds that

Petitioner may not obtain relief under any of his alternative theories for

relief.


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     I.    BACKGROUND

     On March 1, 2007, Petitioner entered into a plea agreement with the

Government under which he pled guilty to conspiracy to possess with intent

to distribute cocaine base, in violation of 21 U.S.C. §§ 841 and 846.

[Criminal Case No. 1:06cr251-MR-4: Doc. 134: Plea Agreement].                 On

October 31, 2007, this Court sentenced Petitioner to 262 months’

imprisonment. [Id., Doc. 171: Judgment].

     Petitioner filed his first 28 U.S.C. § 2255 petition on August 3, 2009,

which this Court denied on August 24, 2009.         See [Docs. 300; 302,

1:09cv297 (W.D.N.C.)]. Petitioner filed the instant Section 2255 petition on

November 21, 2011. Thus, this is the second Section 2255 petition filed by

Petitioner challenging the conviction and sentence in Criminal Case No.

1:06cr251-MR-4. In the instant petition, Petitioner seeks relief under the

Fourth Circuit’s en banc decision in United States v. Simmons, 649 F.3d

237 (4th Cir. 2011), contending that he was improperly designated as a

career offender under U.S.S.G. § 4B1.1.

II. STANDARD OF REVIEW

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions


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to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds

that this matter can be resolved without an evidentiary hearing.             See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

      III.   DISCUSSION

      Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or

successive application permitted by this section is filed in the district court,

the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.” Thus, Petitioner

must first obtain an order from the United States Court of Appeals for the

Fourth Circuit before this Court will consider any successive petition under

28 U.S.C. § 2255.      Petitioner has not shown that he has obtained the

permission of the United States Court of Appeals for the Fourth Circuit to

file a successive petition. See also 28 U.S.C. § 2255(h) (“[a] second or

successive motion must be certified as provided in section 2244 by a panel

of the appropriate court of appeals.”). Indeed, on March 27, 2013, the

Fourth Circuit denied Petitioner’s request to file a successive petition. See


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Order, In re Robert Deon Hunter, Sr., No. 13-154 (4th Cir. Mar. 27, 2013).

Accordingly, this successive petition must be dismissed.1 See Burton v.

Stewart, 549 U.S. 147, 153 (2007) (holding that failure of petitioner to

obtain authorization to file a “second or successive” petition deprived the

district court of jurisdiction to consider the second or successive petition “in

the first place.”).

      Next, to the extent that Petitioner alternatively seeks relief under 28

U.S.C. § 2241, he is not entitled to relief. A petitioner seeking to attack his

conviction or sentence must file a motion under Section 2255 unless this

remedy “is inadequate or ineffective to test the legality of his detention.” 28

U.S.C. § 2255(e). “It is beyond question that § 2255 is not inadequate or

ineffective merely because an individual is unable to obtain relief under that

provision.” In re Jones, 226 F.3d 328, 333 (4th Cir. 2000). The Fourth


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  District courts in the Fourth Circuit to have addressed the issue have held that
petitions that raise Simmons claims are properly characterized as successive petitions.
See Evans v. Warden at FMC Butner, No. 5:12-HC-2043-FL, 2012 WL 6633942, at *2
(E.D.N.C. Dec. 20, 2012) (stating that if an action raising a Simmons claim were treated
as a Section 2255 petition, it would be dismissed as successive); Newman v. United
States, No. 6:04-cr-01127-GRA-8, 2012 WL 6618754, at *2 (D.S.C. Dec. 19, 2012)
(dismissing as an unauthorized, successive petition a Section 2255 petition raising
Simmons claims); Akili v. Zych, No. 7:12-cv-456, 2012 WL 4891701, at *2 (W.D. Va.
Oct. 15, 2012) (assuming that an action raising a Simmons claim would be a successive
petition); Jones v. United States, Civil Action No. WDQ-12-2186, 2012 WL 3115756, at
*2 (D. Md. July 25, 2012) (dismissing as an unauthorized, successive petition a Section
2255 petition raising Simmons claims).


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Circuit has concluded that the remedy under Section 2255 is “inadequate

or ineffective” only when:

      (1) at the time of conviction settled law of this circuit or the
      Supreme Court established the legality of the conviction; (2)
      subsequent to the prisoner’s direct appeal and first § 2255
      motion, the substantive law changed such that the conduct of
      which the prisoner was convicted is deemed not to be criminal;
      and (3) the prisoner cannot satisfy the gatekeeping provisions
      of § 2255 because the new rule is not one of constitutional law.

Id. at 333-34.

      Here, Petitioner does not challenge the legality of his conviction;

rather, he challenges his sentence, which he contends was improperly

enhanced because he was wrongly designated as a career offender. As

Petitioner is challenging his sentence only, he has failed to demonstrate

that pursuit of relief through Section 2255 is inadequate. Moreover, without

consideration of the prior drug conviction, Petitioner was still sentenced to a

term of imprisonment within the maximum statutory sentence. See United

States v. Powell, 691 F.3d 554, 562 n.1 (4th Cir. 2012). For these reasons,

Petitioner is not entitled to relief under Section 2241.

      Next, to the extent that Petitioner seeks alternative grounds for relief

in the form of writs of coram nobis and audita querela, the Fourth Circuit

recently described the writs of coram nobis and audita querela as follows:


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           A writ of error coram nobis may be used to vacate a
     conviction where there is a fundamental error resulting in
     conviction, and no other means of relief is available. United
     States v. Morgan, 346 U.S. 502, 509-11 (1954); United States
     v. Akinsade, 686 F.3d 248, 252 (4th Cir. 2012). The remedy is
     limited, however, to those petitioners who are no longer in
     custody pursuant to their convictions. Carlisle v. United States,
     517 U.S. 416, 428-29 (1996); Akinsade, 686 F.3d at 252.

            Further, a writ of audita querela is not available to a
     petitioner when other avenues of relief are available, such as a
     motion to vacate under 28 U.S.C.A. § 2255 (West Supp. 2012).
     Torres, 282 F.3d at 1245; United States v. Johnson, 962 F.2d
     579, 582 (7th Cir. 1992). That a petitioner may not proceed
     under § 2255 unless he obtains authorization from this court
     does not alter this conclusion. See Carrington v. United States,
     503 F.3d 888, 890 (9th Cir. 2007) (“[T]he statutory limits on
     second or successive habeas petitions do not create a ‘gap’ in
     the post-conviction landscape that can be filled with the
     common law writs.”).

United States v. Sessoms, No. 12-7316, 2012 WL 5520311 (4th Cir. Nov.

15, 2012).    Here, Petitioner is obviously in custody pursuant to his

convictions, and he previously challenged his convictions and sentence in a

Section 2255 motion. Therefore, the writ of coram nobis is not available to

Petitioner. Furthermore, Petitioner may not use the writ of audita querela to

avoid the statutory rules on successive petitions. See Coleman v. United

States, No. 7:07cv346-3-MU, 2007 WL 4303717, at *2 (W.D.N.C. Dec. 10,

2007) (“The fact that § 2255 relief is now unavailable to Petitioner because

of the Antiterrorism and Effective Death Penalty Act’s limitation of the right

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to file a second or successive petition, does not make § 2255 unavailable

to him for purposes of being permitted to file a writ of audita querela.”),

aff’d, 274 Fed. App’x 340 (4th Cir. 2008).

      IV.   CONCLUSION

      For the reasons stated herein, Petitioner’s Section 2255 petition is

dismissed. Furthermore, Petitioner may not obtain relief under any of his

alternative theories.

      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, this Court declines to issue a certificate of

appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S.

322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that the dispositive procedural

ruling is debatable and that the petition states a debatable claim of the

denial of a constitutional right).

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate,

[Doc. 1], is DISMISSED as a successive petition. Furthermore, Petitioner


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is not entitled to relief under any of his alternative theories as set out in his

Supplemental Pleading. [Doc. 4].

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the rules

Governing Section 2254 and Section 2255 Cases, this Court declines to

issue a certificate of appealability.

                                              Signed: May 28, 2013




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